
PER CURIAM.
We affirm the summary denial of this motion for posteonviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. We note, however, that Mr. Elias filed this motion on July 30, 1992. The circuit court did not enter its order summarily denying the motion until November 3, 1994. There may be an explanation for this long delay in the circuit court, but one is not apparent on the face of the record. We recognize that the circuit courts are faced with an abundant supply of postconviction motions, but 27 months is a long time for a prisoner to wait for a summary resolution of such a motion.
Affirmed.
ALTENBERND, A.C.J., and THREADGILL and FULMER, JJ., concur.
